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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF COLUMBIA

META PLATFORMS, INC.,

                        Plaintiff,     Case No. 1:23-cv-03562-RDM

                v.                     Judge Randolph D. Moss

FEDERAL TRADE COMMISSION, et al.,

                        Defendants.



 DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR PRELIMINARY
        INJUNCTION AND DEFENDANTS’ MOTION TO DISMISS
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                                        INTRODUCTION

       In the Federal Trade Commission Act, Congress directed the Federal Trade Commission

(FTC) to protect consumers from unfair or deceptive practices and provided the agency with

enforcement tools to accomplish that mission—through federal court proceedings and its own

administrative process. Consistent with that statutory mandate, the FTC has pursued both

administrative and judicial remedies against Meta (formerly known as Facebook) to protect

consumers’ privacy, resulting in Meta consenting to the FTC issuing administrative orders in 2012

and again in 2020. In 2023, the FTC found good cause to believe that Meta failed to establish and

implement an effective privacy program as required under the 2020 order and also violated the

2012 order; accordingly, the Commission initiated an administrative proceeding to determine

whether modifications to the 2020 order would be appropriate. To secure settlements for itself in

2012 and 2020, Meta expressly admitted that the FTC had the authority to issue and modify

administrative orders. But Meta now asserts that the FTC’s administrative proceedings are

unconstitutional and seeks an injunction against the FTC’s reopening of the 2020 order, advancing

constitutional claims it never raised before.

       None of those claims are legally viable, much less support Meta’s request for the

extraordinary remedy of a preliminary injunction. Meta’s challenge to the FTC Commissioners’

removal protections and its due process claim are squarely precluded by Supreme Court and D.C.

Circuit precedent, which this Court cannot overrule. Meta’s Article III and Seventh Amendment

claims fail because the FTC proceeding at issue involves public rights, which the Supreme Court

has held Congress may assign to an agency to adjudicate without a jury. Moreover, the only relief

at issue is injunctive (and thus equitable) in nature, so Meta would not have a right to a jury trial

even if the proceeding were in court. Meta’s nondelegation claim is meritless because the



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nondelegation doctrine is concerned with the delegation of legislative power, but the FTC’s

decision to proceed administratively versus in court is an exercise of executive, not legislative,

power. Even if the nondelegation doctrine did apply, the FTC Act easily passes the intelligible

principle test, as Congress gave the FTC direction on what it wanted the FTC to do—prevent unfair

and deceptive practices, and modify orders when changed circumstances or the public interest

requires—and how to do it. In addition, Meta has waived all of these claims and is judicially

estopped from raising them, based on its past conduct before the Commission and in court.

        Finally, Meta has not established irreparable harm. Merely citing Axon Enterprises, Inc. v.

FTC, 598 U.S. 175 (2023), is not enough. Axon was a subject matter jurisdiction case, not a

preliminary injunction case. Reading Axon to essentially nullify the irreparable harm element for

a preliminary injunction would go against the principle that preliminary injunctions are the

exception, not the rule, and would be enormously disruptive to agency proceedings across the

government. Nor has Meta shown that any harm to the company outweighs the harm of preventing

the FTC from carrying out its Congressionally given duty to protect consumers, or the harm to

consumers whose privacy interests may be affected by Meta’s alleged misconduct. Accordingly,

the Court should deny Meta’s motion for preliminary injunction and dismiss its claims for failure

to state a claim upon which relief can be granted.

                                        BACKGROUND

   I.      Statutory and regulatory background

        The FTC Act prohibits “unfair or deceptive acts or practices in or affecting commerce”

and empowers and directs the FTC to prevent those unlawful acts and practices. 15 U.S.C.

§ 45(a). Congress gave the FTC several tools to carry out this directive. As relevant here, where

the Commission believes a corporation has been using an unfair or deceptive act or practice and

that a proceeding by the Commission would be in the public interest, it may serve an
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administrative complaint on the corporation stating its allegations. Id. § 45(b). The corporation

has the right to appear at a hearing and to “show cause” why the Commission should not order

the corporation to cease and desist its unfair or deceptive conduct. Id. Hearings may be held

before Administrative Law Judges (ALJs), who issue recommended decisions reviewable by the

Commission, or before the Commission itself (or one or more Commissioners). 16 C.F.R.

§§ 3.42, 3.51-.54. The Commission’s administrative cease-and-desist orders are then reviewable

by the courts of appeals. 15 U.S.C. § 45(c).

       Congress understood that changes to a final Commission order might become

necessary—for example, because the order might turn out to be insufficient to protect the public

or no longer needed. Accordingly, Congress provided that the Commission may “reopen and

alter, modify, or set aside, in whole or in part, any” administrative order whenever it is of the

“opinion” that “conditions of fact or of law have so changed as to require such action or if the

public interest shall so require.” Id. § 45(b); see Elmo Co. v. FTC, 389 F.2d 550, 552 (D.C. Cir.

1967) (affirming Commission order modified pursuant to this provision). The Commission can

also reopen an order at the corporation’s request. See 15 U.S.C. § 45(b); 16 C.F.R. § 2.51(b).

       Before modifying an administrative order, the Commission must provide “notice and

opportunity for hearing,” 15 U.S.C. § 45(b), via “an order to show cause, stating the changes it

proposes to make in the decision and the reasons they are deemed necessary,” 16 C.F.R.

§ 3.72(b)(1). The defendant may file an answer. Id. “When the pleadings raise substantial factual

issues, the Commission will direct such hearings as it deems appropriate, including hearings for

the receipt of evidence by it or by an Administrative Law Judge.” Id. § 3.72(b)(2). If a show

cause order is unopposed, or if the pleadings “do not raise issues of fact to be resolved, the

Commission, in its discretion, may decide the matter on the order to show cause and answer.” Id.



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As with the original cease-and-desist order, judicial review of the Commission’s modification

order is vested in the federal courts of appeals. See 15 U.S.C. § 45(b), (c).

          The Commission cannot recover civil penalties through administrative proceedings. If the

Commission has reason to believe a corporation has violated a cease-and-desist order, it may

seek civil penalties by referring a complaint to the Department of Justice to file in federal district

court. Id. § 45(l).

    II.      Factual background and procedural history

             A.       FTC’s 2012 Administrative Order

          In 2011, the Commission issued an administrative complaint against Meta (then

Facebook), alleging multiple violations of the FTC Act, 15 U.S.C. § 45(a). See Ex. A (2011

Complaint). Among other things, that complaint alleged that Meta misleadingly promised users

they could restrict the sharing of their non-public information to limited audiences, when in fact

such limitations did not prevent Meta from sharing the users’ information with third-party

developers. Id. at 3-4. The complaint further alleged that Meta deceptively changed its website,

making certain information public that users previously may have designated private, without

warning those users or first obtaining their approval. Id. at 4-5. In addition, the complaint alleged

that Meta continued to provide access to photos and videos after users deactivated or deleted

their accounts, despite Meta’s false or misleading claims that such content would become

inaccessible. Id. at 9-10.

          Meta agreed to settle this administrative complaint with an administrative cease-and-

desist order issued by the Commission. See Ex. C (2012 Administrative Order). The 2012

Administrative Order barred Meta from misrepresenting the privacy or security of consumers’

information and also required it to obtain users’ affirmative, express consent before sharing their

information with third parties in a manner that would materially exceed their privacy settings. Id.

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at 3. Moreover, Meta was required to prevent anyone from accessing a user’s information more

than 30 days after the user deleted their account. Id. at 5. Finally, Meta was ordered to establish

and maintain a comprehensive privacy program and obtain independent third-party assessments

of that program. Id. Meta never argued that the Commission or its order was unconstitutional. To

the contrary, it agreed to proceed administratively, “admit[ted] all the jurisdictional facts,” and

“waive[d] . . . all rights to seek judicial review or otherwise to challenge or contest the validity of

the order.” Ex. B (2011 Agreement Containing Consent Order).

           B.      The district court’s 2020 Stipulated Order and the FTC’s 2020
                   Administrative Order

       In 2019, based on its belief that Meta had violated various provisions of the 2012

Administrative Order, the Commission referred to the Department of Justice a complaint seeking

civil penalties and injunctive relief under section 5(l) of the FTC Act, 15 U.S.C. § 45(l). The

complaint filed by the United States in district court alleged that Meta (1) misrepresented the

extent to which users could control the privacy of their data and the steps required to implement

those controls; (2) misrepresented the information Meta made accessible to third parties; and (3)

failed to establish, implement, and maintain a privacy program reasonably designed to address

privacy risks. See Ex. D (2019 Complaint). Specifically, the complaint alleged that Meta

maintained deceptive settings and made public statements suggesting that it restricted the sharing

of users’ information, when in fact third-party developers still could access and collect their data.

Id. at 2. Meta also allegedly failed to adequately address the privacy risks posed by third-party

developers and misrepresented users’ ability to control the use of facial recognition technology.

Id.

       The matter was eventually resolved in 2020. The terms of that settlement were set forth in

the Stipulated Order for Civil Penalty, Monetary Judgment, and Injunctive Relief, entered by


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Judge Kelly of this Court on April 23, 2020. See Ex. E (2020 Stipulated Order). In the Stipulated

Order, Meta agreed to pay a $5 billion civil penalty. Id. at 3. Meta also consented to the

Commission reopening the administrative proceeding, modifying the 2012 Administrative Order,

and replacing it with a new administrative order, the content of which was included as

“Attachment A” to the Stipulated Order, although the Stipulated Order did not order the

Commission to do anything. See id. at 4. Again, during the settlement overseen by Judge Kelly,

Meta never contended that the Commission or its order was unconstitutional. Instead, Meta

“admit[ted] the facts necessary to establish jurisdiction” and “waive[d] all rights to appeal or

otherwise challenge or contest the validity of [the] Stipulated Order.” Id. at 2.

         After the Court issued the Stipulated Order, the Commission reopened the administrative

proceedings against Meta and determined it was in the “public interest” to modify the 2012

Administrative Order to reflect the contents of Attachment A to the Stipulated Order. See Ex. F

(Order Modifying Prior Decision and Order) (“2020 Administrative Order”). In doing so, the

Commission noted that Meta had “consented to modifying the 2012 [Administrative Order] as

set forth.” Id. at 1. Consistent with the terms of the Stipulated Order, Meta did not object to the

Commission reopening its administrative proceedings or issuing the modified administrative

order.

         The 2020 Administrative Order: (1) expanded the privacy program and assessment

provisions, mandating that Meta conduct a “privacy review” of every new or modified product,

service, or practice before implementation and document its risk mitigation determinations;

(2) required Meta to exercise more rigorous oversight over third-party apps; (3) required Meta to

implement greater data security protections for certain user information; (4) imposed new

restrictions on Meta’s use of facial recognition technology and telephone numbers obtained to



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enable a security feature; and (5) required Meta to report incidents involving the data

compromise of 500 or more users and document its efforts to address them. Ex. F at 5-16. As

required by the 2020 Administrative Order, Meta retained an independent assessor to review the

mandated privacy program.

            C.      FTC’s 2023 Order to Show Cause and ensuing district court proceedings

        On July 1, 2021, the independent assessor provided an initial report for the period

running from October 25, 2020, to April 22, 2021. Ex. G. Based in large part on the gaps and

weaknesses identified by the assessor, FTC staff concluded that there were deficiencies

presenting substantial risks to the public. On May 3, 2023, the Commission issued an order to

show cause (“OTSC”) why it should not modify the 2020 Administrative Order to include

additional safeguards. Ex. H-J (2023 Order to Show Cause and attachments). In that order, the

Commission explained it had good cause to believe that Meta: (1) failed to implement an

effective privacy program as required by the 2020 Administrative Order; (2) misrepresented the

extent to which third-party developers received non-public information; and (3) misrepresented

privacy protections in connection with its messaging and video calling application specifically

intended for users under the age of 13. Ex. H at 11-12. The OTSC set a 30-day deadline for Meta

to respond. Id. at 13.

        Instead of answering the allegations, on May 31, 2023, Meta filed a motion with Judge

Kelly in the 2019 district court case seeking to halt the Commission’s proceedings. Meta

contended that the Court had exclusive jurisdiction to enforce or modify the 2020 Stipulated

Order and that Attachment A (which was entered by the Commission as an administrative order

after the Court issued the stipulated order) was part of the 2020 Stipulated Order. And for the

first time, Meta also raised numerous constitutional challenges to the proposed modifications, to

the modification procedures, and to the FTC’s authority generally. Judge Kelly denied Meta’s
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motion, finding that, while the “Stipulated Order directed [Meta] to pay $5 billion in civil money

penalties and ‘consent to’ the FTC’s reopening of its administrative proceedings and

modification of its 2012 administrative order with Attachment A . . . , the Court did not order

[Meta] to comply with the terms of Attachment A, nor order the FTC to do anything.” United

States v. Facebook, No. CV 19-2184 (TJK), 2023 WL 8190858, at *4 (D.D.C. Nov. 27, 2023)

(citation omitted). Thus, the Court did not have jurisdiction over Attachment A or the 2020

Administrative Order, nor over modifications the Commission may make to that order. Id. at *6.

The Court also lacked “jurisdiction over Defendant’s claim that the FTC lacks the authority to

reopen its proceedings and modify the 2020 administrative order.” Id. at *7.

       Meta has appealed Judge Kelly’s decision to the D.C. Circuit. United States v. Facebook,

No. 23-5280 (D.C. Cir. filed Nov. 29, 2023). Meta also filed a new complaint and preliminary

injunction motion in this Court, raising a subset of the same issues it had tried to raise in its

motion before Judge Kelly. Compl., Dkt. 1; Mot. for Prelim. Inj., Dkt. 4. Specifically, Meta

alleges that the FTC’s modification proceedings violate Articles I, II, and III and the Fifth and

Seventh Amendments of the Constitution.

                                      LEGAL STANDARDS

       “A preliminary injunction is an extraordinary and drastic remedy” that should “never [be]

awarded as of right.” Munaf v. Geren, 553 U.S. 674, 689-90 (2008) (citation omitted). The movant

must satisfy a four-prong test, establishing “that he is likely to succeed on the merits, that he is

likely to suffer irreparable harm in the absence of preliminary relief, that the balance of equities

tips in his favor, and that an injunction is in the public interest.” Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 20 (2008); accord Sherley v. Sebelius, 644 F.3d 388, 392 (D.C. Cir. 2011). The

third and fourth factors of the preliminary injunction analysis—harm to others and the public



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interest—“merge when the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435

(2009).

          “A Rule 12(b)(6) motion tests the legal sufficiency of a complaint.” Browning v. Clinton,

292 F.3d 235, 242 (D.C. Cir. 2002). To survive a motion to dismiss under Rule 12(b)(6), a

complaint must “contain sufficient factual matter, accepted as true, to ‘state a claim to relief that

is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). The court must construe the complaint in the plaintiff’s favor

and treat well-pleaded factual allegations as true, but need not credit conclusory statements, legal

conclusions cast as factual allegations, or inferences drawn by the plaintiff that are not supported

by the facts alleged. Nunes v. WP Co., 513 F. Supp. 3d 1, 5 (D.D.C. 2020); Mirv Holdings, LLC v.

GSA, 454 F. Supp. 3d 33, 41 (D.D.C. 2020). “In determining whether a complaint states a claim,

the court may consider the facts alleged in the complaint, documents attached thereto or

incorporated therein, and matters of which it may take judicial notice.” Abhe & Svoboda, Inc. v.

Chao, 508 F.3d 1052, 1059 (D.C. Cir. 2007) (quoting Stewart v. Nat’l Educ. Ass’n, 471 F.3d 169,

173 (D.C. Cir. 2006)).

                                           ARGUMENT

          Meta’s myriad challenges to the FTC’s authority are without merit. Further, Meta has not

established irreparable harm, or that any such harm outweighs the harm the requested injunction

would impose on the government and the public. Thus, this Court should deny Meta’s motion for

preliminary injunction and dismiss the Complaint.




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   I.      Meta has not alleged any plausible constitutional claims and is unlikely to
           succeed on the merits.

           A.      Meta’s Article II removal claim fails.

                   i.    Humphrey’s Executor binds this Court.

        Meta’s challenge to the FTC Act’s restrictions on the President’s removal power over FTC

commissioners “is clearly foreclosed by Supreme Court precedent.” FTC v. Precision Patient

Outcomes, Inc., No. 22-CV-07307-VC, 2023 WL 3242835, at *1 (N.D. Cal. May 3, 2023). This

Court should join numerous other courts in rejecting this challenge. E.g., id.; FTC v. Kochava Inc.,

---F. Supp. 3d ---, 2023 WL 3249809, at *12 (D. Idaho May 4, 2023); FTC v. Roomster Corp., 654

F. Supp. 3d 244, 260 (S.D.N.Y. 2023).

        The Supreme Court upheld the Commissioners’ removal restrictions in Humphrey’s

Executor v. United States, 295 U.S. 602 (1935). Then, as now, the President could remove FTC

commissioners for only “inefficiency, neglect of duty, or malfeasance in office.” 15 U.S.C. § 41.

The Court “found it ‘plain’ that the Constitution did not give the President ‘illimitable power of

removal’ over the officers of independent agencies,” and held that the “‘coercive influence’ of the

removal power would ‘threaten the independence of the commission.’” Morrison v. Olson, 487

U.S. 654, 687-88 (1988) (quoting Humphrey’s Executor, 295 U.S. at 630) (alterations omitted).

Since the Court’s 1935 Humphrey’s Executor decision, “removal restrictions have been generally

regarded as lawful for so-called ‘independent regulatory agencies,’ such as the Federal Trade

Commission, . . . , the Interstate Commerce Commission, . . . , and the Consumer Product Safety

Commission[.]” Morrison, 487 U.S. at 724-25 (Scalia, J., dissenting).

        Meta invites this Court to overrule Humphrey’s Executor on the grounds that the

Commission’s executive enforcement powers have expanded since 1935. Dkt. 1 at 3-4 (Compl.

¶ 5); Dkt. 4-1 at 21-22. But the Supreme Court’s decision in Humphrey’s Executor “remain[s]


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binding precedent until [the Supreme Court] see[s] fit to reconsider [it], regardless of whether

subsequent cases have raised doubts about [its] continuing vitality.” Bosse v. Oklahoma, 580 U.S.

1, 3 (2016) (per curiam) (quoting Hohn v. United States, 524 U.S. 236, 252-53 (1998)); see In re

Aiken Cnty., 645 F.3d 428, 446 (D.C. Cir. 2011) (Kavanaugh, J., concurring) (“Humphrey’s

Executor is an entrenched Supreme Court precedent, protected by stare decisis.”); Ticor Title Ins.

Co. v. FTC, 814 F.2d 731, 741 (D.C. Cir. 1987) (applying Humphrey’s Executor even though it

was “at least arguable that the Supreme Court might be persuaded to alter its current position”).

       Moreover, in recent cases addressing the President’s removal power, the Supreme Court

has repeatedly declined to overrule Humphrey’s Executor. In Seila Law LLC v. CFPB, for instance,

the Court decided to leave Humphrey’s Executor in place, even after acknowledging that some of

that decision’s reasoning—that the Commission exercised quasi-legislative or quasi-judicial

power and not executive power—“has not withstood the test of time.” 140 S. Ct. 2183, 2198 n.2

(2020); see also Collins v. Yellen, 141 S. Ct. 1761, 1783 (2021) (noting that in Seila Law, “[w]e

did ‘not revisit our prior decisions allowing certain limitations on the President’s removal power’”)

(quoting Seila Law, 140 S. Ct. at 2192). The Court also implicitly reaffirmed Humphrey’s Executor

in discussing the remedy in Seila Law. Although the Court ultimately chose to remedy the CFPB

Director’s unconstitutional removal protections by severing them from the statute and making the

Director removable at will by the President, the Court noted that Congress was not foreclosed

“from pursuing alternative responses to the problem—for example, converting the CFPB into a

multimember agency,” Seila Law, 140 S. Ct. at 2211: in other words, into an agency more like the

FTC. And in Free Enterprise Fund v. Public Co. Accounting Oversight Board, 561 U.S. 477, 496

(2010), the Court invalidated “novel” and “rigorous” removal restrictions for certain inferior

officers who could be removed by only the SEC commissioners, but noted that the constitutional



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defect could be remedied by making the inferior officers removable at will by the commissioners

while leaving the SEC commissioners removable for inefficiency, neglect of duty or malfeasance

in office—the same protection applicable to FTC commissioners.

       Meta also suggests that Humphrey’s Executor is undermined by the fact that the current

Commissioners have served for five or fewer years and the three current Commissioners are from

one political party. See Dkt. 1 at 14-15 (Compl. ¶ 49); Dkt. 4-1 at 22-23. 1 This argument should

be rejected for several reasons. First, the happenstance of which seats are filled or vacant at any

particular time or the exact tenure of whichever Commissioners happen to be in office at the

moment is irrelevant to the constitutional analysis. Congress specifically designed the Commission

so that Commissioners would serve staggered, seven-year terms, which “enabled the agency to

accumulate technical expertise and avoid a ‘complete change’ in leadership ‘at any one time.’”

Seila Law, 140 S. Ct. at 2199 (quoting Humphrey’s Executor, 295 U.S. at 624). Congress sensibly

and unremarkably predicted that there would be times when seats would be vacant, since events




1
  The current Commissioners are Democrats Rebecca Slaughter, Lina Khan, and Alvaro Bedoya,
who took office on May 2, 2018, June 15, 2021, and May 16, 2022, respectively. The two other
seats became vacant on October 14, 2022, and March 31, 2023, when Republican
Commissioners Noah Phillips and Christine Wilson stepped down, respectively. See FTC,
Commissioners, Chairwomen and Chairmen of the Federal Trade Commission (Mar. 2023),
https://perma.cc/Y6GV-XPA2. The President made two Republican nominations to the
Commission in July 2023; those nominees are awaiting Senate confirmation. See The White
House, President Biden Announces Nominees to Bipartisan Boards and Commissions (July 3,
2023), https://perma.cc/N445-V4EY. Commissioner Slaughter is also awaiting confirmation to a
second term. See The White House, President Biden Announces Key Nominees (Feb. 13, 2023),
https://perma.cc/5VBV-4E4H. Courts may take judicial notice of “publicly available materials
and information, such as . . . information available on government websites.” Pub. Emps. for
Env’t Resp. v. Nat’l Park Serv., No. CV 19-3629 (RC), 2021 WL 1198047, at *2 (D.D.C. Mar.
30, 2021) (taking judicial notice of Senate confirmation of Department of Interior official);
Prayed v. U.S. Dep’t of Lab., No. 4:17-CV-00023-TMB, 2019 WL 13184717, at *1 (D. Alaska
July 31, 2019) (taking judicial notice that the Secretary of Labor had resigned and had not yet
been replaced), aff’d, 840 F. App’x 996 (9th Cir. 2021).


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such as deaths, illnesses, and resignations can occur anytime, and it takes time for the President to

nominate and the Senate to confirm new Commissioners. Congress authorized the Commission to

keep operating even during those times. See An Act To create a Federal Trade Commission, to

define its powers and duties, and for other purposes, ch. 311, § 1, 38 Stat. 717 (1914) (codified as

amended at 15 U.S.C. § 41). This has been a feature of the FTC Act since it was enacted in 1914,

and nothing in Humphrey’s Executor suggests that the case turned on the contrary, unrealistic

expectation that every seat would always be filled at every moment. Cf. McIntosh v. Dep’t of Def.,

53 F.4th 630, 641 (Fed. Cir. 2022) (rejecting constitutional challenge based on a multimember

board’s lack of a quorum because that “is a temporary circumstance, not a structural defect”)

(quoting Rodriguez v. Dep’t of Veterans Affs., 8 F.4th 1290, 1309 (Fed. Cir. 2021)). Second,

Meta’s characterization of the current Commission as “lack[ing] tenure” and “relatively

inexperienced” is incorrect. Dkt. 4-1 at 22-23. Commissioner Slaughter has served for over 5 years,

Chair Khan for 2.5 years, and Commissioner Bedoya for 1.5 years. And all have significant

experience with competition and consumer protection beyond their service as Commissioners. 2

Thus Meta’s argument is unavailing.

                   ii.   Meta is not entitled to relief without a showing of prejudicial harm.

       Even if the Commissioners’ removal protections were unconstitutional, which they are not,

Meta still could not obtain the injunctive relief it seeks because those removal protections have no

effect on the administrative proceedings from which Meta seeks relief. Meta has not suggested

that the Commissioners were not properly nominated for and appointed to their positions. Thus,

according to the Supreme Court, “there is no basis for concluding that [the Commissioners] lacked

the authority to carry out the functions of the office.” Collins, 141 S. Ct. at 1788. Nor has Meta


2
 Their biographies are available on the FTC’s website. See FTC, Commissioners,
https://www.ftc.gov/about-ftc/commissioners-staff/commissioners.
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adequately alleged or shown that the challenged removal provision “cause[d] harm” by prejudicing

the President’s control over the Commissioners in a way that harms Meta. Id. at 1789. Meta has

not shown, for instance, that the President has sought to remove the current Commissioners or that

he disagrees with the Commission’s proposal to modify the 2020 Administrative Order. See id.

Meta’s failure to make such a showing is dispositive, as the party alleging a removal violation is

entitled to relief “only when the President’s inability to fire an agency head affected the

complained-of decision.” Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB, 51 F.4th 616, 632 (5th Cir.

2022) (rejecting removal claim where plaintiff failed to establish “(1) a substantiated desire by the

President to remove the unconstitutionally insulated actor, (2) a perceived inability to remove the

actor due to the infirm provision, and (3) a nexus between the desire to remove and the challenged

actions taken by the insulated actor”) (citing Collins, 141 S. Ct. at 1801), cert. granted, 143 S. Ct.

978 (2023), and cert. denied, 143 S. Ct. 981 (2023).

       A showing of harm is required regardless of whether the challenger tries to characterize

the relief it seeks as voiding past agency actions or preventing ongoing or future actions. For

example, in CFPB v. Law Offices of Crystal Moroney, P.C., the CFPB sought to enforce a civil

investigative demand (“CID”) for production of documents as part of an ongoing investigation into

whether Ms. Moroney’s law office was violating debt collection laws. 63 F.4th 174, 178, 185 (2d

Cir. 2023), petition for cert. filed on other grounds, No. 22-1233 (U.S. June 23, 2023). Moroney

tried to distinguish Collins on the ground that the relief she sought was prospective (protection

from having to produce documents) and not retrospective (voiding the issued CID). The Second

Circuit rejected this argument because “the Supreme Court’s reasoning that an officer’s actions

are valid so long as she was validly appointed applies with equal force regardless of the relief

sought by the party challenging the officer’s actions.” Id. at 180–81. The Fifth and Sixth Circuits



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have rejected similar arguments for similar reasons. Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB,

51 F.4th at 631-32; Calcutt v. FDIC, 37 F.4th 293, 316 (6th Cir. 2022), rev’d on other grounds,

598 U.S. 623 (2023). Thus, regardless of how Meta frames the relief it seeks, it still must show

harm under Collins, which it has failed to do. Accordingly, its Article II claim fails.

           B.      The Commission’s adjudication of public rights is consistent with Article
                   III.

       Meta asserts that the claims raised in the Commission’s OTSC must be litigated in an

Article III court. Dkt. 1 at 16-17, 19-20 (Compl. ¶¶ 54-59, 80-84); Dkt. 4-1 at 26-28. That is

incorrect. Article III vests the “judicial Power” in the federal courts. U.S. Const. art. III, § 1.

“Congress cannot confer the Government’s ‘judicial Power’ on entities outside Article III.” Oil

States Energy Servs., LLC v. Greene’s Energy Grp., LLC, 138 S. Ct. 1365, 1372-73 (2018)

(quoting Stern v. Marshall, 564 U.S. 462, 484 (2011)). To determine whether an adjudication

involves an exercise of judicial power, the Supreme Court has distinguished between “public

rights” and “private rights” and has “given Congress significant latitude to assign adjudication of

public rights to entities other than Article III courts.” Id. at 1373 (citation omitted). Public rights

are those “arising between the Government and persons subject to its authority in connection with

the performance of the constitutional functions of the executive or legislative departments.” Stern,

564 U.S. at 489 (quoting Crowell v. Benson, 285 U.S. 22, 50 (1932)).

       The administrative proceedings at issue here involve public rights. The proceedings are

between the government and Meta, a party “subject to its authority.” Id. They are connected to the

government’s regulation of unfair and deceptive business practices that harm consumers. See FTC

v. Freecom Commc’ns, Inc., 401 F.3d 1192, 1203 n.7 (10th Cir. 2005) (explaining that the FTC’s

action “was not a private or common law fraud action designed to remedy a singular harm, but a

government action brought to deter deceptive acts and practices aimed at the public”); FTC v.


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Neora LLC, No. 3:20-cv-01979-M, 2022 WL 3213540, at * 3 (N.D. Tex. Aug. 8, 2022) (explaining

that, in seeking injunctive relief, “the FTC is operating in a sovereign capacity for the protection

and furtherance of public rights and interests, namely to protect the public from . . . ‘unfair or

deceptive acts or practices,’ as authorized by the FTC Act.”); cf. Simpson v. Office of Thrift

Supervision, 29 F.3d 1418, 1423 (9th Cir. 1994) (holding that, in instituting cease-and-desist

proceedings, the Office of Thrift Supervision “served a public purpose of the sort Congress

envisioned in providing for administrative adjudication”). Similar to the Occupational Safety and

Health (OSH) Act at issue in Atlas Roofing Co. v. Occupational Safety & Health Review

Commission, 430 U.S. 442 (1977), the FTC Act aims to “prevent” unfair and deceptive acts and

practices even before they actually harm consumers. 15 U.S.C. § 45(a)(2); see Atlas Roofing, 430

U.S. at 445. To achieve that goal, the FTC created new statutory duties and remedies that did not

exist at common law. For example, “[t]o prove a deceptive act or practice in violation of Section

5(a) of the FTC Act, [15 U.S.C. § 45(a)], the FTC must show: (1) a representation, omission, or

practice that (2) is likely to mislead consumers acting reasonably under the circumstances, and that

(3), the representation, omission, or practice is material.” FTC v. Cantkier, 767 F. Supp. 2d 147,

151 (D.D.C. 2011). “Unlike the elements of common law fraud, the FTC need not prove scienter,

reliance, or injury to establish a § 5 violation.” Freecom Commc’ns, 401 F.3d at 1203 n.7.

“Otherwise, the law would preclude the FTC from taking preemptive action against those

responsible for deceptive acts or practices, contrary to § 5’s prophylactic purpose.” Id. at 1203

(citation omitted). The FTC Act entrusted to an expert agency, the Commission, the task of

investigating and adjudicating these violations. The Supreme Court upheld agency adjudication of

similar OSH Act violations, and this Court should do the same here with the FTC Act. See Atlas

Roofing, 430 U.S. at 445, 450.



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       Meta asserts that this matter involves private rights because it implicates Meta’s property

rights. Dkt. 1 at 16, 20 (Compl. ¶¶ 55-59, 82-83); Dkt. 4-1 at 27-28. But the mere possibility that

a case might affect a private party’s property rights does not mean that it must be adjudicated by

an Article III court or by a jury. “Many matters that involve the application of legal standards to

facts and affect private interests are routinely decided by agency action with limited or no review

by Article III courts.” Thomas v. Union Carbide Agric. Prods. Co., 473 U.S. 568, 583 (1985).

Adopting Meta’s position would require this Court to overturn decades of Supreme Court

precedent upholding agency adjudication of cases determining liabilities of companies and

individuals that necessarily implicated their private property rights. Atlas Roofing, for example,

involved agency adjudication of OSHA citations against companies that were required to pay

monetary penalties and to change their business practices to abate safety hazards. 430 U.S. at 447-

48; see also, e.g., Commodity Futures Trading Comm’n v. Schor, 478 U.S. 833, 853 (1986)

(allowing CFTC to adjudicate debit balance claims between commodity futures brokers and

customers, which involved “private rights” “assumed to be at the ‘core’ of matters normally

reserved to Article III courts”); Crowell, 285 U.S. at 51-53 (replacing injured longshore workers’

traditional negligence cause of action against employers with an administrative workers’

compensation system requiring employers to pay compensation to injured workers). Thus, Meta

cannot succeed on its Article III claim.

           C.      The Seventh Amendment does not apply where, as here, only injunctive
                   relief is sought.

       “[I]f Congress may assign the adjudication of a statutory cause of action to a non-Article

III tribunal, then the Seventh Amendment poses no independent bar to the adjudication of that

action by a nonjury factfinder.” Granfinanciera, S.A. v. Nordberg, 492 U.S. 33, 53-54 (1989); In

re Tex. Gen. Petroleum Corp., 52 F.3d 1330, 1336 (5th Cir. 1995) (“Whether an Article III court


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is necessary involves the same inquiry as whether a litigant has a Seventh Amendment right to a

jury trial.”). Thus, if the Court agrees with Defendants that Meta’s Article III claim fails under the

public rights doctrine, then Meta’s Seventh Amendment claim fails as well.

       Even if the public rights doctrine were not dispositive, Meta’s Seventh Amendment

arguments would still fail. Meta asserts that it has a right to a jury trial because the FTC’s statutory

scheme “provides for the potential future imposition of civil penalties,” citing 15 U.S.C. § 45(l).

Dkt. 1 at 4, 17, 20 (Compl. ¶¶ 8, 61, 87); Dkt. 4-1 at 28. But the modification proceeding does not

involve civil penalties, only prospective changes in Meta’s conduct, which is injunctive in nature,

and “[i]t is settled law that the Seventh Amendment does not apply” to “suits seeking only

injunctive relief.” City of Monterey v. Del Monte Dunes at Monterey, Ltd., 526 U.S. 687, 719

(1999) (citing Parsons v. Bedford, Breedlove & Robeson, 28 U.S. (3 Pet.) 433 (1830)). Under §

45(l), if after hearing from Meta the Commission decides to modify the 2020 Order, if Meta one

day were to violate the modified order, if the Commission referred the matter to the Department

of Justice, and if the Department of Justice filed a complaint in district court, then civil penalties

could potentially be recovered from Meta. Meta cites no authority for the proposition that jury trial

rights can attach based on speculation about remedies that might or might not be sought in a future

proceeding in a different forum, based on future violations that may or may not happen.

       Meta’s breach of contract theory fails for similar reasons. See Dkt. 1 at 16 (Compl. ¶ 56);

Dkt. 4-1 at 29. As a threshold matter, Meta’s analogy is inapt because the Commission is not

bringing a breach of contract claim; it is proposing to modify its 2020 order pursuant to its authority

under the FTC Act. See 15 U.S.C. § 45(b). Meta (then Facebook) consented to entry of the 2020

order, but the Commission’s statutory modification authority does not depend on whether a

Commission order resulted from a fully litigated case or a consent agreement. Nor is the



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Commission’s modification authority limited to situations when the previous administrative order

(consent order or not) was violated. Thus, the modification proceedings fundamentally do not arise

from a breach of an agreement like breach of contract claims do. Moreover, even if the

modification proceedings could be analogized to a breach of contract claim, the potential relief

involved would be more akin to specific performance—which is equitable, see Atlas Roofing, 430

U.S. at 459—than to legal remedies like damages.

           D.      The FTC’s authority to choose between administrative and judicial
                   remedies does not implicate or violate the nondelegation doctrine.

       Meta’s nondelegation claim fails because, when the FTC decides in an individual case

whether to proceed administratively or in court, it exercises executive power, not legislative power.

Thus, that choice does not implicate the nondelegation doctrine. In the alternative, even if the

decision was an exercise of legislative power, it was guided by intelligible principles in the FTC

Act.

       Article I of the Constitution vests the federal government’s legislative powers in Congress,

and Congress may not delegate those powers to an executive agency absent an intelligible principle

to guide the exercise of discretion. U.S. Const. art. I, § 1; see, e.g., Mistretta v. United States, 488

U.S. 361, 372 (1989). However, in authorizing the FTC to choose between administrative and

judicial enforcement mechanisms, Congress did not unconstitutionally delegate its legislative

powers. “Legislative power, as distinguished from executive power, is the authority to make laws,

but not to enforce them.” Buckley v. Valeo, 424 U.S. 1, 139 (1976) (quoting Springer v. Gov’t of

Philippine Islands, 277 U.S. 189, 202 (1928)), superseded by statute on other grounds as

recognized in McConnell v. Fed. Election Comm’n, 540 U.S. 93 (2003). It has long been

established that “enforcement power,” which includes the “discretionary power to seek judicial

relief” by filing a lawsuit, is an exercise of executive authority. Id. at 138. Further, “an agency’s


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decision not to prosecute or enforce, whether through civil or criminal process, is a decision

generally committed to an agency’s absolute discretion.” Heckler v. Chaney, 470 U.S. 821, 831

(1985).

          The Commission does not “make law” when it chooses between administrative and judicial

remedies, any more than an Executive Branch agency makes law by choosing to bring a criminal

prosecution rather than a civil suit, or by choosing whether to pursue civil penalties or equitable

relief. These types of decisions about what violations to assert, what penalties to seek, and in what

forum to proceed are quintessentially executive actions that are the very definition of enforcing

the laws. See United States v. Batchelder, 442 U.S. 114, 125-26 (1979) (finding no violation of

nondelegation doctrine in authorizing prosecutor to choose among statutes that impose different

penalties for essentially the same conduct); cf. TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2207

(2021) (“[T]he choice of how to prioritize and how aggressively to pursue legal actions against

defendants who violate the law falls within the discretion of the Executive Branch.”).

          The Fifth Circuit decision on which Meta relies, Jarkesy v. SEC, 34 F.4th 446 (5th Cir.

2022), cert. granted, 143 S. Ct. 2688 (2023), is neither binding nor persuasive. Jarkesy conflated

(1) Congress’s legislative power to determine the range of enforcement mechanisms that should

be available to the agency in particular categories of cases with (2) the executive power to choose

among permissible enforcement mechanisms in individual cases. Thus, the decision is inconsistent

with Supreme Court precedent. Jarkesy is also distinguishable because the Fifth Circuit’s

determination that the SEC was exercising legislative power relied heavily on the fact that the

Congress gave the SEC “the ability to determine which subjects of its enforcement actions are

entitled to Article III proceedings with a jury trial, and which are not.” See id. at 461 (emphasis

added). That is not at issue here. The Commission’s OTSC involves only potential changes in



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administrative order provisions governing Meta’s conduct: a remedy similar to injunctive relief.

Even if the Commission had sought that relief in court, Meta would have no right to a jury trial.

See City of Monterey, 526 U.S. at 719.

       Further, even if the choice between administrative and judicial enforcement were a

legislative act (and it is not), the Commission’s authority still passes constitutional muster because

Congress limited the Commission’s discretion to make that choice with a sufficiently intelligible

principle. The “intelligible principle” standard is not a demanding one. Gundy v. United States,

139 S. Ct. 2116, 2129 (2019) (plurality opinion). “[A] delegation is permissible if Congress has

made clear to the delegee ‘the general policy’ he must pursue and the ‘boundaries of his

authority.’” Id. (cleaned up). “The Supreme Court has underscored that the general policy and

boundaries of a delegation need not be tested in isolation,” as “the statutory language may derive

content from the purpose of the Act, its factual background and the statutory context.” Mich.

Gambling Opposition v. Kempthorne, 525 F.3d 23, 30 (D.C. Cir. 2008) (cleaned up).

       In the FTC Act, Congress has set out both a general policy and the boundaries of the

Commission’s authority. As relevant here, the FTC Act outlaws “unfair or deceptive acts or

practices in or affecting commerce” and directs the Commission to “prevent” persons and entities

from engaging in them. 15 U.S.C. § 45(a)(1)-(2). An “unfair” act or practice “causes or is likely

to cause substantial injury to consumers which is not reasonably avoidable by consumers

themselves and not outweighed by countervailing benefits to consumers.” Id. § 45(n). Although

“deceptive” is not specifically defined in the statute, deceptive is a well-enough understood term

that courts have recognized it does not need more definition to provide an intelligible principle.

See FTC v. Zaappaaz, LLC, No. 4:20-cv-2717, 2023 WL 5020618, at *8 (S.D. Tex. June 9, 2023)

(rejecting argument that Congress failed to provide intelligible principle when it failed to define



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“deceptive,” “given that the word deceptive has been defined in many contexts and does not need

further definition”). Congress also identified in the FTC Act the mechanisms that the Commission

is allowed to use and the specific circumstances under which the Commission may use each of

them. See generally AMG Cap. Mgmt., LLC v. FTC, 593 U.S. 67, 72-73, 76-77 (2021).

       As to the Commission process involved here, the Commission can modify its previous

orders only if, “in the opinion of the Commission[,] conditions of fact or of law have so changed

as to require such action or if the public interest shall so require.” 15 U.S.C. § 45(b). The change

in conditions prong prevents the Commission from modifying orders where nothing has changed

since the original order, or if there are changes, but, for example, they are not of the degree or

nature that would “require” an order to be modified so that it continues to protect consumers from

unfair or deceptive acts. As for the public interest prong, the “public interest” is similarly informed

by the statute’s purpose of protecting consumers from unfair or deceptive practices, and limits the

Commission’s ability to act outside of those parameters. See Mohr v. FTC, 272 F.2d 401, 405-06

(9th Cir. 1959) (recognizing “public interest in terminating deceptive practices” and upholding the

Commission’s modification of a prior administrative order where experience under the prior order

showed modification was necessary to “stop the deception”); see also Elmo, 389 F.2d at 552 (citing

Mohr approvingly). The Supreme Court has repeatedly “found an ‘intelligible principle’ in various

statutes authorizing regulation in the ‘public interest.’” Whitman v. Am. Trucking Ass’ns, 531 U.S.

457, 474 (2001) (citation omitted). The public interest is “not a concept without ascertainable

criteria,” N.Y. Cent. Sec. Corp. v. United States, 287 U.S. 12, 25 (1932), or “so indefinite as to

confer an unlimited power,” Nat’l Broad. Co. v. United States, 319 U.S. 190, 216 (1943); see also

id. at 225-26 (rejecting nondelegation argument); United States v. Diggins, 36 F.4th 302, 319 n.19

(1st Cir. 2022) (holding that a criminal statute authorizing prosecutions in the “public interest”



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“indisputably satisfies the lax ‘intelligible principle’ standard under our precedents and those of

the Supreme Court”) (quoting United States v. Parks, 698 F.3d 1, 7 (1st Cir. 2012)), cert. denied,

143 S. Ct. 383 (2022). Because Congress provided ample guidance to the Commission on how to

enforce the FTC Act, Meta’s nondelegation claim fails.

           E.      Meta’s due process claim fails.

       Meta asserts that the Commission plays a dual role as prosecutor and judge, in violation of

due process. Dkt. 1 at 3, 12-13, 18 (Compl. ¶¶ 4, 39-45, 66-69); Dkt. 4-1 at 18. But that claim is

foreclosed by Supreme Court precedent. “[T]he combination of investigative and adjudicative

functions does not, without more, constitute a due process violation.” Withrow v. Larkin, 421 U.S.

35, 58 (1975); see also In re Zdravkovich, 634 F.3d 574, 579 (D.C. Cir. 2011); FTC v. Cinderella

Career & Finishing Sch., Inc., 404 F.2d 1308, 1315 (D.C. Cir. 1968) (upholding combination of

functions in FTC case). Meta has not shown or plausibly alleged that the Commission’s

combination of functions results in biased adjudication. “Courts have long recognized a

‘presumption of honesty and integrity in those serving as adjudicators.’” Professional Air Traffic

Controllers Org. v. Fed. Labor Relations Auth., 685 F.2d 547, 573 (D.C. Cir. 1982) (quoting

Withrow, 421 U.S. at 47). Arguments that agency adjudicators are biased thus involve a “difficult

burden of persuasion to carry,” as the plaintiff must overcome that presumption. Withrow, 421

U.S. at 47. To do so, Meta must make a “strong showing” that the Commission is not acting in

good faith. Pro. Air Traffic Controllers Org. v. Fed. Labor Rels. Auth., 685 F.2d at 573 (quoting

Withrow, 421 U.S. at 47). The presumption is not overcome by the mere fact that an agency official

has been involved in both investigation and adjudication of a matter, without “more evidence of

bias or the risk of bias or prejudgment.” Withrow, 421 U.S. at 53-54. The sort of bias or prejudice

that might warrant a Fifth Amendment claim in an administrative proceeding could arise where

the “adjudicator has a pecuniary interest in the outcome” or where “he has been the target of
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personal abuse or criticism from the party before him.” Id. at 47. However, where an agency

official “approve[s] the filing of charges . . . instituting enforcement proceedings,” it would not

offend due process for that official “to participate in the ensuing hearings.” Id. at 56; see also FTC

v. Cement Inst., 333 U.S. 683, 702 (1948) (holding that FTC did not violate due process when it

adjudicated a matter against a particular respondent after opining in reports and congressional

testimony that the conduct at issue constituted an unfair practice).

       Here, Meta accuses the Commission of prejudgment, pointing to various aspects of the

OTSC document and the Commission’s alleged refusal to meet informally with Meta before

issuing the OTSC. Dkt. 1 at 2-3, 9, 12 (Compl. ¶¶ 2, 4, 31, 39-40); Dkt. 4-1 at 18-20. To the extent

that Meta’s due process claim is based on circumstances specific to Meta, the Court should dismiss

it for lack of jurisdiction. Fed. R. Civ. P. 12(b)(1). While the Supreme Court in Axon held that the

district court had subject matter jurisdiction over the Axon plaintiff’s combination-of-functions

claim, that was based on the understanding that the claim was a “fundamental, even existential”

one that “maintain[ed] in essence that the agenc[y], as currently structured, [was] unconstitutional

in much of [its] work.” 598 U.S. at 180. As-applied due process challenges like the one that Meta

seems to be making are not covered by Axon. See id. at 193 (distinguishing claims that “object to

the Commissions’ power generally” from those that object to something “particular about how that

power was wielded” and from “the sorts of procedural or evidentiary matters an agency often

resolves on its way to a merits decision”). Such claims should be reviewed through the normal

judicial review process provided in the FTC Act. See Loma Linda-Inland Consortium for

Healthcare Educ. v. NLRB, No. 23-5096, 2023 WL 7294839, at *11 (D.C. Cir. May 25, 2023)

(“Nothing in Axon holds that every ‘nonfrivolous’ constitutional objection to every agency




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proceeding . . . , especially fact-bound as-applied claims to a particular exercise of agency

jurisdiction, can bypass the congressional scheme established for judicial review.”).

       In any event, Meta’s arguments relating to the OTSC distort the nature and role of the

document. The FTC Act permits the Commission to modify its prior orders only “after notice and

opportunity for hearing.” 15 U.S.C. § 45(b). In accordance with the statute, the OTSC gives notice

to Meta about what the Commission is considering doing (modifying the 2020 Order), why (based

on the Commission’s preliminary understanding of the facts), and how (describing the proposed

modifications). The OTSC also gives Meta the opportunity to be heard before the Commission

takes action. Providing notice and an opportunity to be heard obviously does not violate due

process. Indeed, it is what is required to satisfy due process in many circumstances. There is no

evidence in the OTSC that the Commissioners’ minds are “irrevocably closed” to whatever

evidence or arguments Meta might present. Cement Inst., 333 U.S. at 701. The “preliminary”

factual findings are exactly that—preliminary—because the Commission is waiting to hear Meta’s

side of the story before it makes any final factual findings. That the factual discussion in the OTSC

is lengthy is unremarkable in light of the detailed nature of the independent assessment and of the

voluminous information that Facebook provided to the FTC in response to it. See Ex. G; Dkt. 1 at

8 (Compl. ¶ 28) (“Meta’s responses [to the assessor’s report] included multiple depositions,

hundreds of pages of narrative responses, and nearly 30,000 pages of underlying source

material.”). Moreover, “[m]ere familiarity with the facts of a case gained by an agency in the

performance of its statutory role does not . . . disqualify a decisionmaker.” Hortonville Joint Sch.

Dist. No. 1 v. Hortonville Educ. Ass’n, 426 U.S. 482, 493 (1976). To hold, as Meta would, that an

agency shows prejudgment when its notice provides too much information would create a strange

incentive for agencies to be more vague, which is counterproductive to due process principles. As



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for Meta’s complaint that it did not get to meet with the Commissioners or senior staff before the

OTSC was issued, Dkt. 4-1 at 19, Meta points to no regulatory, statutory, or constitutional

requirement that Commissioners or senior staff must meet informally with an entity before the

Commission can initiate any proceeding against it. The statute requires “notice and opportunity

for hearing,” which the OTSC provided.

       Meta also alleges systemic bias based on a sentence in the Ninth Circuit decision in Axon

stating that “FTC does not appear to dispute . . . that [it] has not lost a single [administrative] case

in the past quarter-century.” Dkt. 1 at 13 (Compl. ¶¶ 43-45) (quoting Axon Enter., Inc. v. FTC, 986

F.3d 1173, 1187 (9th Cir. 2021)); Dkt. 4-1 at 18. As a preliminary matter, the “narrow question

presented” to the Ninth Circuit in Axon was “whether the district court has jurisdiction to hear

Axon’s constitutional challenge to the FTC’s structure.” 986 F.3d at 1176. The merits of Axon’s

claim, or lack thereof, was not before the court. Thus, the Ninth Circuit’s dictum has no bearing

on this case.

       More importantly, an isolated assertion about an adjudicator’s history of past rulings is not

sufficient to allege a plausible due process claim or to make a sufficient showing to overcome the

presumption of good faith. Courts have repeatedly rejected similar assertions against other agency

adjudicators. See, e.g., Singh v. Garland, 20 F.4th 1049, 1054-55 (5th Cir. 2021) (“An

[immigration judge’s] ‘denial rate’ is no more than a crude summation of the IJ’s prior rulings.

This raw statistic cannot of itself show bias in a particular case.”); James R. v. Kijakazi, No. CV

22-05030 (GC), 2023 WL 6389097, at *5 (D.N.J. Sept. 30, 2023) (rejecting due process claim

based on Social Security ALJ’s “apparently high general rate of denying social security benefits”

because “poor statistics in other cases are not sufficient for the Court to find bias”); Hall v. Kane,

No. C 05-4426 MMC (PR), 2008 WL 5391196, at *4 (N.D. Cal. Dec. 23, 2008) (“[E]ven statistical



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data as to the rate of denial in other prisoners’ cases will not suffice to establish that the Board

automatically denies parole, or that the Board otherwise improperly made its determination in

petitioner’s case, as parole may have been properly denied after the Board’s individualized

assessment of each of those cases.”). Even in an individual case, the alleged “statistical one-

sidedness” of an adjudicator’s rulings “simply cannot be used to support an inference of judicial

bias.” So. Pac. Commc’n Co. v AT&T Co., 740 F.2d 980, 995 (D.C. Cir. 1984); In re IBM Corp.,

618 F.2d 923, 930 (2nd Cir. 1980) (similar).

       Further, Meta’s claim of systemic bias overlooks that the Commission has dismissed

administrative complaints or counts in those complaints. See, e.g., McWane, Inc. v. FTC, 783 F.3d

814, 822-23 & n.7 (11th Cir. 2015); In re R.R. Donnelley & Sons Co., 120 F.T.C. 36, 136 (1995).

The most comprehensive analysis of the Commission’s decisionmaking, prepared by former

Commissioner Maureen Ohlhausen and published in a peer-reviewed economics journal, found no

evidence of systemic bias. See Maureen K. Ohlhausen, Administrative Litigation at the FTC:

Effective Tool for Developing the Law or Rubber Stamp, 12 J. Comp. L. & Econ. 623, 624, 651

(2016), https://perma.cc/3JK9-4B7Y. As a point of comparison, more than 90% of federal criminal

cases are resolved with guilty pleas, and fewer than 1% of federal criminal defendants go to trial

and are acquitted. John Gramlich, Only 2% of federal criminal defendants went to trial in 2018,

and   most    who    did were found       guilty, Pew Research        Center   (June 11, 2019),

https://perma.cc/KM6Q-ZYDB. That is not because federal judges are biased against criminal

defendants, but because, among other factors, the government does not bring cases without strong

evidence of illegality.

       Finally, the cases relied on by Meta are distinguishable. Dkt. 4-1 at 18, 20. Williams v.

Pennsylvania, 579 U.S. 1 (2016), and In re Murchison, 349 U.S. 133 (1955), involved criminal



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proceedings, not civil administrative proceedings. As the D.C. Circuit has recognized, “due

process requirements are more stringent” in criminal cases. “In non-criminal proceedings, [] an

overlap of functions does not always violate due process.” Wildberger v. Am. Fed’n of Gov’t

Emps., AFL-CIO, 86 F.3d 1188, 1195 (D.C. Cir. 1996). The Withrow Court itself explained that

Murchison “has not been understood to stand for the broad rule that the members of an

administrative agency may not investigate the facts, institute proceedings, and then make the

necessary adjudications.” Withrow, 421 U.S. at 53. Williams, which came later, does not disturb

the general principle recognized in Withrow that an agency can constitutionally perform both

prosecutorial and adjudicative functions. Indeed, Williams cited Withrow without comment.

Williams, 579, U.S. at 4, 9, 14. Accordingly, Meta’s due process claim fails.

           F.      Meta has waived and is judicially estopped from raising challenges to the
                   Federal Trade Commission’s structure and modification authority.

       Even if Meta were correct about any of the arguments above, it would not matter because

it waived those arguments and is estopped from raising them. Over the past decade, Meta has

repeatedly admitted that the FTC may lawfully enter and modify administrative orders, and has

repeatedly taken actions inconsistent with the constitutional arguments Meta now asserts. First,

when agreeing to the 2012 Administrative Order, Meta “admit[ted] all the jurisdictional facts” and

“waive[d] . . . all rights to seek judicial review or otherwise to challenge or contest the validity of

the order[.]” See Ex. B at 1. Meta made similar admissions in the Stipulated Order that was filed

with Judge Kelly, as well as in the 2020 Administrative Order. See Ex. E at 2; Ex. F at 1-2.

Moreover, Meta also admitted in the Stipulated Order that the complaint against it “state[d] a claim

upon which relief may be granted” for civil penalties, which includes the fact that Meta allegedly

violated an administrative order that the FTC had legally valid authority to enter. See Ex. E at 2.




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Finally, Meta “consent[ed] to” the 2020 Administrative Order, id. at 4, which expressly recognized

that the Commission may further modify the administrative order.

       Despite repeatedly submitting to the Commission’s jurisdiction, Meta now argues that the

FTC’s structure and modification procedures were unconstitutional all along. But Meta waived

these challenges and is judicially estopped from changing its position now. As to waiver, a party

to a consent decree can waive constitutional challenges in order to resolve an enforcement action.

See SEC v. Romeril, 15 F.4th 166, 172 (2d Cir. 2021), cert. denied, 142 S. Ct. 2836 (2022); Nat’l

Ecological Found. v. Alexander, 496 F.3d 466, 478 (6th Cir. 2007); see also D. H. Overmyer Co.

Inc., of Ohio v. Frick Co., 405 U.S. 174, 183-87 (1972). Meta could have contended in 2012 or

2019 that the Commission was unconstitutionally structured and lacked authority to enter or

modify the administrative order pertaining to Meta. Instead, Meta knowingly and voluntarily

abandoned those challenges, admitting the Commission has jurisdiction to enter administrative

orders. By repeatedly intentionally relinquishing these challenges, Meta waived its right to

challenge the FTC’s authority.

       Meta is also judicially estopped from challenging the FTC’s structure and authority to

modify the 2020 Administrative Order. “Where a party assumes a certain position in a legal

proceeding, and succeeds in maintaining that position, [it] may not thereafter, simply because [its]

interests have changed, assume a contrary position.” New Hampshire v. Maine, 532 U.S. 742, 749

(2001) (cleaned up). Because Meta “succeeded in persuading” the Court in 2020 to enter the

Stipulated Order, which included a provision in which Meta consented to the Commission entering

a modified administrative order, Meta is judicially estopped from embracing a “clearly

inconsistent” position by claiming that the administrative proceedings—and the agency itself—

were unconstitutional in the first place. See id. at 750-51. This Court should reject Meta’s attempt



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to use “intentional self-contradiction” to gain “unfair advantage” in this litigation. 3 Id. at 751

(citation omitted).

    II.      Meta fails to establish irreparable harm.

          The sole basis of Meta’s alleged harm is a purported “here-and-now injury” from “being

subjected to” the Commission’s administrative proceeding. Dkt. 4-1 at 29. Mere incantation of

“here-and-now injury” under Axon is insufficient to establish irreparable harm for purposes of

obtaining a preliminary injunction. Axon held that federal district courts have jurisdiction to hear

certain structural constitutional challenges to the conduct of an ongoing administrative proceeding.

598 U.S. at 191-92. Axon did not decide whether the mere allegation of structural injury is

sufficient to warrant a preliminary injunction. See Kim v. FINRA, No. 1:23-CV-02420 (ACR),

2023 WL 6538544, at *13 n.19 (D.D.C. Oct. 6, 2023); Leachco, Inc. v. Consumer Prod. Safety

Comm’n, No. CIV-22-232-RAW, 2023 WL 4934989, at *2 (E.D. Okla. Aug. 2, 2023);4 see also

Morgan Drexen, Inc. v. CFPB, 785 F.3d 684, 694 (D.C. Cir. 2015) (holding that, in Free

Enterprise Fund, 561 U.S. 477, “the Supreme Court resolved its jurisdiction to hear a

constitutional challenge to a new federal agency but had no occasion to address a federal court’s

exercise of equitable discretion to deny injunctive or declaratory relief”). Reading Axon to require

a preliminary injunction anytime a party challenges administrative proceedings on constitutional

grounds not only would have disruptive consequences for agencies across the government,

essentially subjecting administrative adjudications to a type of preclearance process in court before


3
  Even if waiver and judicial estoppel did not apply, laches would bar Meta’s claims. After the
FTC’s 2011 administrative complaint, Meta waited twelve years to assert claims that the FTC
and its administrative proceedings were unconstitutional. That undue delay prejudiced the FTC,
which spent considerable resources during that period negotiating and evaluating compliance
with the 2012 and 2020 Administrative Orders. See Pro Football, Inc. v. Harjo, 565 F.3d 880,
882 (D.C. Cir. 2009).
4
  The irreparable harm issue is pending before the Tenth Circuit. Leachco, No. 22-7060 (10th
Cir., argued Sept. 20, 2023).
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they can commence, but also would transform preliminary injunction motions into the standard

vehicles for litigating those types of constitutional claims. That would contravene the principle

that a preliminary injunction is an “extraordinary and drastic remedy” and is the exception, not the

rule. Munaf, 553 U.S. at 689-90 (citation omitted).

       “[T]here is no per se rule that the violation of any constitutional right is inherently

irreparable.” Ayele v. Dist. of Columbia, No. CV 23-1785 (ABJ), 2023 WL 8354883, at *6 (D.D.C.

Dec. 1, 2023). Rather, plaintiffs must also identify an “immediate or ongoing harm from the . . .

alleged constitutional defects.” In re al-Nashiri, 791 F.3d 71, 79-80 (D.C. Cir. 2015). “The expense

and annoyance of litigation is part of the social burden of living under government” and so “[m]ere

litigation expense, even substantial and unrecoupable cost, does not constitute irreparable injury.”

FTC v. Standard Oil Co. of Cal., 449 U.S. 232, 244 (1980) (citations omitted); see also Axon, 598

U.S. at 192 (“the expense and disruption of protracted adjudicatory proceedings on a claim do not

justify immediate review”) (citation omitted). In this vein, another judge in this district recently

held that a challenger seeking a preliminary injunction based on Axon-type claims failed to

establish irreparable harm where “[t]he requirements that Plaintiff file a bare-bones answer [in the

underlying administrative proceedings], participate in a pre-hearing conference, and potentially

produce additional documents could, of course, constitute some harm,” but not the “degree of harm

sufficient to justify preliminary injunctive relief.” Kim, 2023 WL 6538544, at *14. Kim contrasted

that type of litigation harm with the so-called “corporate death penalty” faced by a company in

another FINRA matter, Scottsdale Cap. Advisors Corp. v. FINRA, in which FINRA was taking




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expedited steps to expel the company from the securities industry because of its chronic recidivism.

Id. (citation omitted). 5

           This case is more like Kim than Alpine/Scottsdale. Meta has not alleged that it would go

out of business. How quickly the modification proceeding will go will depend on how Meta

responds to the order to show cause. If “the pleadings raise substantial factual issues, the

Commission will direct such hearings as it deems appropriate, including hearings for the receipt

of evidence by it or by an Administrative Law Judge.” 16 C.F.R. § 3.72(b)(2). Given the nature of

the objections to the OTSC Meta has previewed so far, see Dkt. 1 at 9-10 (Compl. ¶ 33) (alleging

that the order to show cause would make numerous changes to the 2020 order); Dkt. 4-1 at 19

(objecting to 1,164-paragraph preliminary findings of fact), it may take some time for the

Commission or the ALJ to hear the issues. Like in Kim, this is not the kind of harm that constitutes

irreparable injury.

    III.      The balance of the equities and public interest factors weigh against an
              injunction.

           Even if Meta establishes a likelihood of success and irreparable injury, it must still show

that the injury outweighs the harm an injunction would inflict on the government and the public.

“[A] court can deny preliminary injunctive relief solely on the balance of equities and public

interest factors even in cases, like this, involving constitutional claims.” Kim, 2023 WL 6538544,

at *16. The Commission’s show cause order reflects the expert agency’s concerns that the 2020

Administrative Order is insufficient to protect the public from Meta’s unfair and deceptive


5
  In that case, the district court held that irreparable harm was established based on Axon, but
denied a preliminary injunction of the FINRA proceedings because the challenger was unlikely
to succeed on the merits. Scottsdale Cap. Advisors Corp. v. FINRA, ---F. Supp. 3d---, 2023 WL
3864557, at *4 (D.D.C. June 7, 2023)). The challenger appealed and a 2-1 motions panel of the
D.C. Circuit granted an injunction pending appeal, although only one judge explained his
reasoning in a concurring opinion. Alpine Sec. Corp. v. FINRA, No. 23-5129, 2023 WL 4703307,
at *1-2, 4 (D.C. Cir. July 5, 2023) (Walker, J., concurring).
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conduct. As the show cause order explained, the Commission has good cause to believe Meta’s

privacy practices are still putting consumers’ privacy at risk. See Ex. F. Despite ongoing risks to

the public from its conduct, Meta seeks to delay Commission proceedings while it litigates its

collection of meritless claims. The Court should not allow Meta to do so.6

    IV.      Meta is not entitled to relief on claims outside of the Complaint.

          At a minimum, the Court should deny Meta’s request for an injunction broadly enjoining

Defendants from pursuing “any other action against Plaintiff.” Dkt. 4-3 at 2 (Pl.’s Proposed Order).

Meta’s Complaint addresses only the FTC’s proposed modification of the 2020 administrative

order in In re: Facebook, No. C-4365, concerning Meta’s privacy practices, not any other FTC

actions against Meta. Courts “cannot grant preliminary relief on claims not pleaded in the

complaint.” Steele v. United States, No. 1:14-CV-1523 (RCL), 2020 WL 7123100, at *7 (D.D.C.

Dec. 4, 2020); De Beers Consol. Mines v. United States, 325 U.S. 212, 220 (1945) (a preliminary

injunction is inappropriate when it would provide relief that “in no circumstance” could be

provided “in any final injunction that may be entered”).

                                          CONCLUSION

          For these reasons, the Court should deny Meta’s motion for a preliminary injunction and

grant Defendants’ motion to dismiss.



6
  Meta argues that the government delayed bringing the OTSC and again delayed the
proceedings before Judge Kelly by seeking an extension on the briefing schedule. Dkt. 4-1 at 31.
However, given the complexity and volume of the information provided by the assessor and
Meta, it is not surprising that it would take time for the Commission time to digest the
information, to decide whether to issue an OTSC, and then to prepare the OTSC. It is similarly
unsurprising that, given the numerous issues that Meta raised in its motion before Judge Kelly,
including some constitutional issues that could potentially impact much of the FTC’s work, that
the Commission would extend Meta’s deadline to give the government the time to respond, give
the court time to thoughtfully decide the issue, and give Meta time to react to Judge Kelly’s
decision.


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Dated: December 13, 2023                  Respectfully submitted,

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